          Case 1:21-cr-00038-CRC Document 72 Filed 08/17/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                v.
                                                              Case No. 21-cr-00038 (CRC)
RICHARD BARNETT,

                       Defendant.



                                    JOINT STATUS UPDATE

       The Defendant, Richard Barnett, by and through his attorney, and the United States of

America, by and through its attorney the United States Attorney for the District of Columbia,

hereby submit the following Joint Status Report pursuant to the Court’s Amended Pretrial Order

directing the parties to file a joint status report on or before August 17, 2022. (Dkt No. 63):

       (1)      First and foremost, Defendant’s counsel seeks to update this Court on the lead

attorney, Joseph McBride’s current health condition.

             a. At the end of July 2022, physicians for undersigned defense counsel McBride

                informed him, in writing, that his physicians recommended that counsel needs to

                take an aggressive course of action to eradicate and neutralize his recently

                diagnosed chronic Lyme disease, so that he can “resume life as close to normal as

                possible after treatment.”

             b. To summarize, the treating physician’s plan advises undersigned defense counsel

                McBride to take a medically related, two to three months leave of absence to

                appropriately treat his condition.




                                             Page 1 of 3
        Case 1:21-cr-00038-CRC Document 72 Filed 08/17/22 Page 2 of 3




          c. Undersigned defense counsel McBride submits that his need to overcome a short-

              term, yet very serious health issue is currently being handled and will not affect the

              future representation Defendant Barnett will receive.

          d. For example, Phase One of undersigned counsel’s treatment has been ongoing.

              Phase Two, a more robust and intense phase, is set to commence in the beginning

              of September.

          e. Regardless of undersigned defense counsel McBride’s treatment and recovery plan,

              the defense is on track with the current scheduling order, which actually is in-line

              undersigned counsel’s treatment plan.

          f. Lastly, undersigned defense counsel can assure the Court that there are no related

              issues concerning the defendant's continued representation. Lead counsel is Joseph

              McBride, and co-counsel is Steven Metcalf.

   (2) Counsel for the government states as follows:

          a. The government continues to prepare for the December 12, 2022 trial.



Dated: August 17, 2022                                      Respectfully submitted,


                                                     For the Defendant:
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                                           Page 2 of 3
Case 1:21-cr-00038-CRC Document 72 Filed 08/17/22 Page 3 of 3




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                         Page 3 of 3
